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     1. Are you erecting any temporary structures such as a tent bigger than 10x10,
        fencing, staging, trussing, electrical (generators greater than 5000 watts),
        plumbing (restroom(s) units/port-o-lets), bleachers, pool covers, or other
        structures? If so, please detail.
         POTENTIAL RAIN TENT: 30X80
         STAGE: 8X8 RISERS FOR DJ
         TRUSS: 6-12FT TALL TRUSS TOWERS FOR GENERAL LIGHTING
         RESTROOMS: TRAILERS X 2 PLUS 1 ADA
         JACUZZI COVER: 9X9
         GENERATOR: 2 – 75 KVA (ONE USED AS A BACK UP)


     2. If you are contending that this is a charitable event, please (1) provide copies of all
        agreements with the charitable organization(s) for the event; (2) provide proof of
        the charitable organization’s(s’) 501(c)(3) or other tax-exempt status; (3) detail
        whether any goods or services are being sold; and (4) detail how funds are being
        raised and paid to the charitable organization(s).


          The ICA is a multi-year partner of our company, BDG Media Inc. We have co-hosted the
  opening reception for the ICA for the last seven years. This particular event will involve a
  charitable contribution to the ICA from our parent company to them. No goods or services are
  being sold.


     3. Do you intend to have any private event sponsors? If so, please state who and
        detail how the sponsorship payment structure will work and whether the
        residential homeowner is receiving any compensation from same. Please also
        provide copies of all agreements with any sponsor(s) of the event.
         Our company, BDG Media, has longterm commercial agreements with sponsors Elf
         Cosmetics and Movado Group, both of whom will be contributing their branding to the
         event.




     4. Do you intend to charge an admittance fee? If so, please state how much, from
        whom, and how the fee(s) will be distributed.
         No.
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     5. How do you intend to track attendance? For example, wristbands, tickets, etc.
        All guests will be pre-approved and pre-wristbanded for the event.


     6. How do you intend to invite attendees? For example, personal invitations, public
        advertisements, social media posts, etc. Please also provide copies of all
        invitations (including public advertisements and/or social media posts) that have
        already been published and/or otherwise distributed to potential attendees.
        This is a private event, and guests will be privately contacted via email with regard to
        their invitation.


     7. Do you intend to have live music? If so, please provide the name of the
        performer(s), the location of the performance(s), the length and time of the set,
        and the equipment to be used (including intended decibel output).
        8pm - 1am: Musicians will be playing, including Hugel and Ludacris.




     8. Do you intend to have catering? If so, please provide the name of the caterer and
        the equipment to be used (including fire/heating mechanisms).
        Yes. Pre-prepared food will be served.


     9. Do you intend to have bartender(s)? If so, please provide the name of the
        bartender(s) and affiliated vendor (if any), the intended location(s) for bar setup(s)
        and the number of bartenders per bar.
        VENDOR: POTIONS IN MOTIONS (LICENSED VENDOR)
        16 BARTENDERS/5 BARS/EACH BAR IS ROUGHLY 12FT.


     10. Do you intend to have lighting? If so, please provide the name of the lighting
         vendor(s) and the equipment to be used (including wattage).
        VENDOR: EVERLAST PRODUCTIONS
        FIXTURES: MOSTLY WASH FIXTURES FOR GENERAL LIGHTING AROUND THE
        EVENT. ALL ARE LED AND WILL TAKE VERY LITTLE POWER DRAW.




     11. Do you intend to provide parking, valet and/or ride-share drop off locations? If so,
         please detail (including the name of the parking/valet company(ies), number of
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         staff for parking/valet, and locations for same) and provide an estimated number
         of vehicles.
         No parking will be allowed or tolerated at the event. All guests must take carpool or
         rideshare. There will be no valet.


     12. Do you intend to install dancefloor(s)? If so, please provide the name of the
         vendor(s) and contractor(s) and the intended location(s).
         NO
  Do you intend to use private security contractor(s)? If so, please provide the name of the
  security contractor(s), state how many security personnel will be on site and what equipment will
  be us J

  Vendor:
  John Wydler, CLSD
  Corporate Director of Safety & Security
  Allstar Security & Consulting Inc.
  Chicago | Florida | Nashville | New York
  Office Line: (786) 217-9431
  Cell Phone: (305) 240-5414
  Email: john@asflsecurity.com
  www.allstarsec.com


  PSA count: roughly 30


     13. Do you intend to display fireworks? If so, please detail.
         NO


     14. Please provide any additional information you wish the City to consider as evidence that
         impacts to public safety, neighborhood traffic, residents’ quality of life, and the residential
         character of the single-family neighborhood will be adequately ensured.\
         WE DON’T FEEL ANY PARTS OF THE EVENT WILL IMPACT THE NEIGHBORS
         QUALITY OF LIFE FOR THE 4 HOUR EVENT.
